                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            BRYSON CITY DIVISION
                                  2:06cr04


UNITED STATES OF AMERICA,                )
                                         )
Vs.                                      )                      ORDER
                                         )
TERENCE HOWARD ROACH,                    )
                                         )
                  Defendant.             )
________________________________________ )


       THIS MATTER coming on to be heard and being heard before the undersigned,

pursuant to a motion filed by the defendant, pro se, entitled “Motion to Substitute Council”

(sic) (#70) and it appearing to the court at the call of this matter on for hearing that the

defendant advised the court that he wished to withdraw the motion in all respects and the

defendant having been questioned closely by the undersigned, it appears that the defendant

understands his rights does wish to withdraw his motion. It is therefore ordered that the

motion is rendered moot and is ordered to be dismissed.

                                         ORDER

       WHEREFORE, it is the order of the court that the motion of the defendant entitled

“Motion to Substitute Council” (#70) is withdrawn and is ordered to be DISMISSED.


                                             Signed: July 19, 2007




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